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                                                                FILED: October 17, 2013


                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                        ___________________

                                            No. 12-8052 (L)
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a Dobie Parker

                       Defendant - Appellant

                                        ___________________

                                              No. 13-4208
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, Dobie Parker

                       Defendant - Appellant
Appeal: 12-8052     Doc: 38-1       Filed: 10/17/2013 Pg: 2 of 2
                  Case 8:04-cr-00235-DKC Document 1651 Filed 10/17/13 Page 2 of 2

                                      ___________________

                                        JUDGMENT
                                      ___________________

              In accordance with the decision of this court, the judgment of the district

        court is affirmed.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                               /s/ PATRICIA S. CONNOR, CLERK
